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                                     UNITED STATES DISTRICT COURT
 7

 8                                             DISTRICT OF NEVADA
 9                                                    ***
10
      SHANNON CARTER,                                        Case No.: 2:17-cv-01628-RFB-EJY
11                                                           Appeal No. 20-17442
                                  Plaintiff,
12
      vs.                                                    MEMORANDUM OF POINTS AND
13                                                           AUTHORITIES IN SUPPORT OF
      S. BEAN and DR. BITAR, et al.,                         PLAINTIFF’S PETITION TO
14                                                           CERTIFY DEFENDANTS’ APPEAL
15                     Defendants.                           AS FRIVOLOUS AND REQUEST
      _________________________________/                     TO PROCEED WITH TRIAL
16

17
              COMES NOW, SHANNON CARTER (“Carter” or “Plaintiff”), by and through the
18
     undersigned counsel, and hereby petitions this Court to certify appeal filed by S. BEAN and DR.
19

20   BITAR, et al. (“Defendants”) in this matter as frivolous and requests that this matter proceed to

21   trial.
22
              This Petition is made and based upon all the pleadings and records on file for this
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     proceeding together with every exhibit that is mentioned herein or attached hereto, if any there
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25   be, as well as the points and authorities set forth directly hereinafter.

26            ///
27            ///
28            ///




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 1                       MEMORANDUM OF POINTS AND AUTHORITIES
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            Background
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            The Court issued its order denying the Plaintiff’s motion and granting in part
 4

 5   Defendants’ motion for summary judgment on November 30, 2020 at ECF #89. On December

 6   14, 2020, the Defendants filed a Motion for Reconsideration [ECF #88], seeking relief under
 7
     Local Rule 59-1, and this Court denied the same at the hearing conducted on September 28,
 8
     2021. See ECF # 108.
 9

10          On December 17, 2020, the Defendants filed a Notice of Appeal (ECF #89) of this

11   matter but noted in the Notice of Appeal that because the Motion for Reconsideration does not
12
     address qualified immunity, it may not be a tolling motion under FRAP 4(a)(4).
13
            The Clerk of the Court at the 9th Circuit Court of Appeals issued an order on January 7,
14

15   2021 holding appellate proceedings in abeyance pending the resolution of the Defendants’

16   Motion.
17
            Standard of Review
18
            The filing of an interlocutory appeal confers jurisdiction on the court of appeals and
19

20   divests the district court. Rivera-Torres v. Ortiz Velez, 341 F.3d 86, 93 (1st Cir. 2003). “However,

21   Courts have carved out a few narrow exceptions to this rule, such as where the defendant
22
     frivolously appeals or takes an interlocutory appeal from a non-appealable order.” Id. at 93,
23
     citing United States v. DeFries, 129 F.3d 1293, 1302-03 (D.C.Cir. 1997). A District Court is not
24

25   divested of jurisdiction where an interlocutory appeal of qualified immunity ruling is baseless

26   that does not invoke appellate jurisdiction’ even when filed. Rivera-Torres, at 94.
27          Considerations of delay, comparative expertise of trial and appellate courts, and wise use
28 of appellate resources, may serve to limit interlocutory appeals of ‘qualified immunity’ matters to




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 1   cases presenting issues of law, and not fact. Johnson v. Jones, 515 U.S. 304, 305 (1995) (limiting
 2
     the application of Mitchell v. Forsyth, 472 U.S. 511 (1985)).
 3
              A district court has the authority to certify an appeal as frivolous. Rivera-Torres, at 94.
 4

 5   In Chuman v. Wright, 960 F.2d 104 (9th Cir.1992) the Ninth Circuit ruled that: “The evidence in

 6   the record, viewed in a light most favorable to the party claiming injury, establishes at the very
 7
     least that genuine issues of material fact remain as to whether those clearly established rights
 8
     have in fact been violated,” and that, “[A]n appeal on the issue would do nothing but
 9

10   unreasonably delay the time when [plaintiff] gets his day in Court.” Chuman, 960 F.2d at 105.

11   The Ninth Circuit approved of the type of certification sought here and adopted the rule that:
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     “Should the district court find that the defendants’ claim of qualified immunity is frivolous or
13
     has been waived, the district court may certify, in writing, that defendants have forfeited their
14

15   right to pretrial appeal, and may proceed with trial.” Id. In Behrens v. Pelletier, 516 U.S. 299, 310-

16   11 (1996), the United States Supreme Court ruled that a district court's power to certify a
17
     defendant's interlocutory appeal of the denial of qualified immunity as frivolous or forfeited
18
     exists under law.
19

20            In the Ninth Circuit, defendants may be sanctioned for filing frivolous appeals that

21   include a claim of qualified immunity. Frunz v. City of Tacoma, 468 F.3d 1141, 1147 n.10 (9th Cir.
22
     2006).
23
              The Court’s Order denying Summary Judgment
24

25            In its Order denying summary judgment in part at #ECF 87, the Court specifically

26   concluded that there were two facts in dispute: (1) What occurred when Mr. Carter was brought
27 to his appointment on February 1, 2017, i.e. whether he was denied treatment for his dental

28 issues or was refused treatment by the Defendants; and (2) whether Carter had a serious medical




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 1   need that was disregarded by the Defendants. Id. at 3-4. The Court concluded that genuine
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     issues of material fact exist which could enable a jury to find that the Defendants were
 3
     deliberately indifferent to Plaintiff’s medical needs and retaliated against Carter for filing the
 4

 5   collateral State Court matter. It was on this basis that the Court denied summary judgment.

 6           Further, the Court denied the Defendants qualified immunity on the specific grounds
 7
     that issues of fact remained to be decided. Id. at 12 (citing Sandoval v. Las Vegas Metropolitan Police
 8
     Dept., 756 F.3d 1154, 1160 (9th Cir. 2014)).
 9

10           The Defendants failed to move for summary judgment on the Plaintiff’s 14th

11   Amendment Due Process claim
12
             In the Screening Order at ECF #44, the Court permitted three claims to proceed against
13
     the Defendants: (1) an Eighth Amendment deliberate indifference claim against Defendants
14

15   Bean, Bitar, Nash, and Williams; (2) A Fourteenth Amendment Substantive Due Process claim

16   against Bean, Bitar, Nash, Williams, Aranas, Buencamino, Stewart, Howell and Dzurenda; and
17
     (3) a First Amendment retaliation claim against Defendants Bean and Bitar.
18
             However, in Defendant’s July 30, 2020 Motion for Summary Judgment (ECF #69), the
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20   Defendants only moved for judgment on claims 1 and 3 above and failed to move for judgment

21   on Mr. Carter’s Fourteenth Amendment Substantive Due Process claim. On October 13, 2020,
22
     Carter filed his Response in Opposition to Defendant’s Motion for Summary Judgment (ECF
23
     #79). On December 20, 2020, the Defendants filed a Supplement (ECF #81) to their Motion
24

25   for Summary Judgment, arguing that Carter is not entitled to summary judgment on his

26   Fourteenth Amendment due process claims because his underlying Eighth Amendment
27 deliberate indifference to a serious medical condition claims fail as a matter of law. However, per

28 an Order from the Court at ECF #68, the deadline to file dispositive motions was set at July 31,




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 1   2020. As such, any argument regarding summary judgment on Mr. Carter’s Fourteenth
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     Amendment Substantive Due Process claim was due on that date, and Defendant’s supplement
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     moving for judgment on that claim was untimely by half a year.
 4

 5           Argument

 6           In the Notice of Appeal filed by the Defendants (ECF# 89), the Defendants claim that
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     the Court’s Order is appealable under 28 U.S.C. § 1291 and Mitchell v. Forsyth, 472 U.S. 511, 526-
 8
     27 (1985), because they appeal the District Court’s denial of qualified immunity in denying the
 9

10   motion for summary judgment. However, as explained above, a district court's denial of a claim

11   of qualified immunity is an appealable final decision under 28 U.S.C. § 1291, “to the extent that
12
     it turns on an issue of law.” Mitchell, at 530. Here, the Court’s Order, and its denial of summary
13
     judgment, was unambiguously based on disputed issues of fact. Defendants’ appeal based on
14

15   issues of fact rather than an issue of law is unlikely to be successful and likely to be a waste of

16   time and appellate resources. Defendants’ Notice of Appeal is meritless and warrants a finding
17
     that it is frivolous.
18
              Defendants state that they are appealing the Court’s determination that Defendants
19

20   Bean and Bitar are entitled to qualified immunity on the Plaintiff's claims under the First and the

21   Eighth Amendments. There is no mention of Carter’s Fourteenth Amendment Substantive Due
22
     Process claim. No Defendant has moved this Court for a stay or requested a continuance. On
23
     this basis alone, the Court could find that the appeal is frivolous, and order that this matter
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25   should proceed to trial.

26           Upon the district court taking the affirmative step of certifying an appeal as frivolous, the
27 district court retains jurisdiction to proceed to trial. Rivera-Torres v. Ortiz Velez, 341 F.3d at 94,

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 1   citing Stewart v. Donges, 915 F.2d 572, 577-78 (10th Cir. 1990), Chuman v. Wright, 960 F.2d at 105,
 2
     Yates v City of Cleveland, 941 F.2d 444, 449 (6th Cir. 1991).
 3
            Conclusion
 4

 5          BASED ON THE FOREGOING, the Plaintiff petitions this Court to certify the appeal

 6   filed by the Defendants in this matter as frivolous and order that this matter proceed to trial.
 7

 8
                    DATED this October 9, 2021:
 9

10
                                                            By:__/s/ Luke Busby, Esq. _____
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 1

 2                                   CERTIFICATE OF SERVICE
 3
            Pursuant to FRCP 5(b), I certify that on the date shown below, I caused service to be
 4
     completed of a true and correct copy of the foregoing Document by:
 5

 6   ______        personally delivering;

 7   ______        delivery via Reno/Carson Messenger Service;
 8   ______        sending via Federal Express (or other overnight delivery service);
 9
                   depositing for mailing in the U.S. mail, with sufficient postage affixed thereto; or,
10
        X          delivery via electronic means (fax, eflex, NEF, etc.) to:
11

12
                          Amy A. Porray (Bar No. 9596)
13                        Deputy Attorney General
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16                        (702) 486-3216 (phone)
                          (702) 486-3773 (fax)
17                        Email: aporray@ag.nv.gov
18                        CKnight@ag.nv.gov

19
                   DATED this October 9, 2021:
20

21
                                                      By:___/s/Luke Busby .
22

23

24

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